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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                            LAFAYETTE-OPELOUSAS DIVISION

 STERLING HENRY GIVENS, JR.                           CRIMINAL ACTION NO. 07-20052
                                                      CIVIL ACTION NO. 10-1409

 VERSUS                                               JUDGE HAIK

 UNITED STATES OF AMERICA                             MAGISTRATE JUDGE HANNA

                              REPORT AND RECOMMENDATION

       Before the court is pro se plaintiff Sterling Henry Givens, Jr.’s Motion Under 28

 U.S.C. §2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody

 (Rec. Doc. 445).

 Background and Argument

       Petitioner pled guilty on April 3, 2009, to Count 4 of the Superseding Indictment,

 charging Attempted Interference with Commerce by Robbery (18 U.S.C. § 1951) and

 Count 5 of the Superceding Indictment, charging him with Possession and Carrying of

 Firearm during and in Relation to a Drug Trafficking Crime and a Crime of Violence (18

 U.S.C. § 924(c)(1)).1 He was sentenced on September 15, 2009.2 He did not appeal.

       In his motion, filed on September 8, 2010, petitioner argues the court did not have

 subject matter jurisdiction because Count 4 was dismissed by Superceding Indictment on

 September 12, 2007. Petitioner argues as follows:


       1
           Plea Agreement (Rec. Doc. 289).
       2
           Minutes of Court (Rec. Doc. 387).

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        Lack of Subject Matter Jurisdiction. Petitioner’s Count 4, 18 U.S.C. §
        1951, Attempted Interference With commerce by Robbery was dismissed by
        Superceding Indictment filed on 9/12/07, Docket entry # 387. Count 4, is
        the pridicate [sic] offense to Count 5, Possession and Carrying of a Firearm
        During and In Relation to a Crime of Violence, 18 U.S.C. § 924(c)(1).
        Petition pled guilty to Count’s 4 and Count 5. With the dismissal of Count
        4 by superceding indictment, Count 5 is negated. Therefore, Petitioners
        guilty plea is null and void. Petitioner’s 318 month sentence must be
        vacated. Justice Demands Nothing Less.3

        Petitioner states “I was not aware of the obvious errors and did not become aware

 until I received the 8/2/2010 letter from the Clerk of Court.” 4 Petitioner has attached

 copies of the docket sheet to his motion, emphasizing entry 387, the minutes of his

 sentencing proceeding. That entry reads in pertinent part as follows:

        MINUTES for proceedings held before Judge Richard T. Haik, Sr:
        SENTENCING held on 9/15/2009 for Sterling Henry Givens, Jr. (3),
        Count(s) 1, 2, 21, 3, 4, Dismissed on superseding indictment filed 9/12/07;
        Count(s) 1s, 23s, 6s, Dismissed by motion of the government at sentencing
        proceedings held on 9/15/09; Count(s) 4s, 5s, Defendant sentenced to
        318 months. . . .5

 Applicable Law and Discussion

        The scope of relief afforded under §2255 is extremely narrow. It is "reserved for

 transgressions of constitutional rights and for a narrow range of injuries that could not

 have been raised on direct appeal and would, if condoned, result in a complete

 miscarriage of justice." United States v. Vaughn, 955 F.2d 367, 368 (5th Cir.1992);


        3
            Motion (Rec. Doc. 445), p. 4.
        4
            Motion (Rec. Doc. 445), p. 8.
        5
            Rec. Doc. 387, see Docket Sheet attached to Motion (Rec. Doc. 445-1), p. 1.

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 United States v. Acklen, 47 F.3d 739, 741 (5th Cir.1995). Section 2255 provides four

 grounds for relief:

        1.     that the sentence violates the Constitution or other federal law;
        2.     that the court lacked jurisdiction;
        3.     that the sentence exceeded the maximum allowed by law; or
        4.     that the sentence is otherwise "subject to collateral attack."
 Title 28 U.S.C. §2255.

        Section 2255 does not contain an exhaustion requirement, but a petitioner may not

 collaterally attack a conviction until it has been affirmed on appeal absent exceptional

 circumstances. Fassler v. U. S., 858 F.2d 1016, 1019 (5th Cir. 1988)(per curiam). See

 also Section 2255 Rules, note 1, R. 5 advisory committee's note ("orderly administration

 of criminal law precludes considering such a motion absent exceptional circumstances").

        Failure to raise a claim at trial or on appeal generally results in a waiver of the

 claim. U. S. v. Frady, 456 U.S. 152, 162-66 (1982). A defendant must show "cause" for

 his procedural default and "actual prejudice" resulting from the alleged error. Id. at

 170-171; Shaid, 937 F.2d at 232. This "cause" and "prejudice" test must be satisfied even

 if the defendant alleges fundamental constitutional error. Murray v. Carrier, 477 U.S.

 478, 493, 106 S.Ct. 2639, 2648, 91 L.Ed.2d 397 (1986).

        Petitioner has misunderstood the entries on the docket sheet. The original

 indictment was dismissed by the superceding indictment, so that event appears on the

 docket sheet as a “dismissal” of the original charges. However, the superceding

 indictment clearly charges petitioner with Count 4, Attempted Interference with



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 Commerce by Robbery in violation of 18 U.S.C. § 1951. Thus, petitioner remained

 charged with Counts 4 and 5 in the superceding indictment, to which he pled guilty.

        The undersigned finds petitioner is unable to allege any prejudice in this matter, as

 his entire argument that the court did not have subject matter jurisdiction is based on a

 misunderstanding of the docket sheet and the functions of a superceding indictment.

        Rule 4(b) of the Rules Governing Section 2255 Proceedings provides that “if it

 plainly appears from the face of the motion and any annexed exhibits and the prior

 proceedings in the case that the movant is not entitled to relief in the district court, the

 judge shall make an order for summary dismissal and cause the movant to be notified.”

 Conclusion and Recommendation

        The undersigned finds from the face of the motion, the exhibits, and the prior

 proceedings that petitioner is not entitled to relief and summary dismissal is appropriate.

        For the foregoing reasons it is recommended that the petitioner’s Motion Under 28

 U.S.C. §2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody

 (Rec. Doc. 445) be summarily DENIED and DISMISSED with prejudice.

        Under the provisions of 28 U.S.C. Section 636(b)(1)(C) and Rule 72(b), parties

 aggrieved by this recommendation have fourteen (14) days from service of this Report

 and Recommendation to file specific, written objections with the Clerk of Court. A party

 may respond to another party’s objections within fourteen (14) days after being served

 with a copy of any objections or response to the District Judge at the time of filing.



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        Failure to file written objections to the proposed factual findings and/or the

 proposed legal conclusions reflected in this Report and Recommendation within

 fourteen (14) days following the date of its service, or within the time frame

 authorized by Fed.R.Civ.P. 6(b), shall bar an aggrieved party from attacking either

 the factual findings or the legal conclusions accepted by the District Court, except

 upon grounds of plain error. See Douglass v. United Services Automobile

 Association, 79 F.3d 1415 (5 th Cir. 1996).

        Pursuant to Rule 11(a) of the Rules Governing Section 2255 Proceedings for the

 United States District Courts, this court must issue or deny a certificate of appealability

 when it enters a final order adverse to the applicant. Unless a Circuit Justice or District

 Judge issues a certificate of appealability, an appeal may not be taken to the court of

 appeals. Within fourteen (14) days from service of this Report and

 Recommendation, the parties may file a memorandum setting forth arguments on

 whether a certificate of appealability should issue. See 28 U.S.C. § 2253(c)(2). A

 courtesy copy of the memorandum shall be provided to the District Judge at the

 time of filing.

        Lafayette, Louisiana, this 15 th day of September, 2010.




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